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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 RYAN GILARDY, Derivatively on Behalf of                Case. No.
 Nominal Defendant BEYOND MEAT, INC.,

                        Plaintiff,
                                                        JURY TRIAL DEMANDED
        v.

 ETHAN BROWN, MARK J. NELSON,
 PHILLIP E. HARDIN, SETH GOLDMAN,
 SALLY GRIMES, COLLEEN JAY,
 RAYMOND J. LANE, MUKTESH PANT, NED
 D. SEGAL, and KATHY N. WALLER,

                        Defendants,

        and

 BEYOND MEAT, INC.,

                        Nominal Defendant.


                VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT

       By and through his/her undersigned counsel, Plaintiff Ryan Gilardy (“Plaintiff”) brings

this shareholder derivative action on behalf of Nominal Defendant Beyond Meat, Inc. (“Beyond

Meat” or the “Company”) and against certain current and former officers and directors of the

Company for: (i) violations of Sections 14(a), 10(b) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”) and SEC Rule 10b-5 promulgated thereunder; (ii) breaches of fiduciary

duties; (iii) breach of fiduciary duty for insider trading; (iv) unjust enrichment; and (v) waste of

corporate assets. Plaintiff makes these allegations upon personal knowledge as to those allegations

concerning herself and, as to all other matters, upon the investigation of counsel, which includes

without limitation: (a) review and analysis of public filings made by Beyond Meat and other related




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parties with the United States Securities and Exchange Commission (“SEC”); (b) review and

analysis of press releases and other publications disseminated by certain of the Defendants (defined

below) and other related non-parties; (c) review of news articles, shareholder communications, and

postings on Beyond Meat’s website concerning the Company’s public statements; (d) pleadings,

papers, and any documents filed with, and publicly available from, the related consolidated

securities fraud class action lawsuit captioned Retail Wholesale Department Store Union Local

338 Retirement Fund v. Beyond Meat Inc., et al. Case No. 23-cv-3602 (the “Related Securities

Action”); and (e) review of other publicly-available information concerning Beyond Meat and the

Defendants.

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this action derivatively for the benefit of Nominal Defendant

Beyond Meat against certain of the Company’s current and former executive officers and directors

aiming to rectify the Defendants’ breaches of fiduciary duties for issuing false and misleading

statements and/or omitting material information in the Company’s public filings and proxy

statements from approximately May 5, 2020 to the present (the “Relevant Period”).1

       2.      Beyond Meat is a Los Angeles-based producer of plant-based meat substitutes. This

matter arises from Defendants’ material misrepresentations and omissions concerning the

Company’s ability to produce plant-based meats at scale to the specifications of its key customers,

who the Company refers to as “partners.”




1 The materially misleading statements and/or omissions were issued in the Company’s financial

reports and other public filings and releases from approximately May 5, 2020 to October 13, 2022;
however, the wrongs complained of herein continue through to the present as the Company’s
internal controls remain deficient.


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       3.      Throughout the Relevant Period, Beyond Meat misled investors by boasting about

the success of its product tests with its large-scale partnerships, including prominent food retailers

like McDonalds, Starbucks, KFC, Pizza Hut, and Taco Bell. Beyond Meat assured investors and

partners that it would “ensure manufacturability” through “extensive testing,” and that it was

capable of manufacturing the unique plant-based meat products at commercial scale. Further,

Beyond Meat blamed any delays in launching these large-scale partnerships on Covid-19.

       4.      Certain Beyond Meat executives profited enormously from the scheme described

herein by selling hundreds of thousands of shares of their personally held Company stock at

artificially inflated prices during the Relevant Period. For instance, Defendant Nelson sold 442,252

shares of Beyond Meat stock during the Relevant Period for over $58.3 million in proceeds.

       5.      The truth began to emerge on October 22, 2021, when Beyond Meat announced

that the Company was reducing its third quarter net revenues outlook by up to $34 million, or 25%.

As part of the announcement, Beyond Meat also revealed that the Company’s expenses and

inventories were continuing to rise. As a result of these disclosures, the price of Beyond Meat

stock declined by $12.82 per share, or nearly 12%, from $108.62 per share to $95.80 per share.

       6.      Then, on November 10, 2021, Beyond Meat announced a $1.8 million write-off of

unsold inventory. As a result of this disclosure, the price of Beyond Meat stock declined by $12.55

per share, or nearly 13%, from $94.48 per share to $81.93 per share.

       7.      However, Beyond Meat continued to assure investors of the success of its

partnerships. For example, on November 10, 2021, Defendant Brown claimed that the Company

“overcame numerous technical challenges” and blamed its poor financial results on the Covid-19

pandemic.




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       8.       Then, on November 17, 2021, an article was published in Bloomberg highlighting

the delays in production and execution challenges Beyond Meat was facing. Former employees

reported that there were “significant internal problems” stemming from “confusion and

misalignment . . . [and] belated decision-making” that corresponded with exacerbated production

delays. As a result of these disclosures, the price of Beyond Meat stock declined by $3.01 per

share, or more than 3.5%, from $83.48 per share to $80.97 per share.

       9.       On December 9, 2021, after the market closed, multiple media sources reported that

Taco Bell had cancelled a planned product test due to ongoing quality concerns. As a result of

these disclosures, the price of Beyond Meat stock declined by $5.58 per share, or nearly 8%, from

$70.09 per share to $64.51 per share.

       10.      On October 14, 2022, Beyond Meat announced the departure of several top

executives, including the Company’s Chief Operating Officer, Chief Growth Officer, and Chief

Financial Officer. As a result of these disclosures, the price of Beyond Meat stock declined by

$1.43 per share, or over 9.6%, from $14.78 per share to $13.35 per share.

       11.      As a result of Defendants’ wrongful acts and omissions, and the precipitous

declines in the market value of the Company’s securities, the Company and its shareholders have

been damaged.

                                    JURISDICTION AND VENUE

       12.      This Court has jurisdiction over this action pursuant to the subject matter of this

action pursuant to 28 U.S.C. § 1331 because the claims arise under and pursuant to §§ 14(a) and

10(b) of the Exchange Act and Rule 10(b)-5 promulgated thereunder.

       13.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. §1367(a), as they relate to Plaintiff’s claims under 15 U.S.C. §78n(a).




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       14.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), because a substantial

portion of the transactions and wrongs complained of herein occurred in this District and

defendants have received substantial compensation within this District by doing business here and

engaging in numerous activities that had an effect in this jurisdiction.

                                             PARTIES

       15.     Plaintiff has been a shareholder since prior to the start of the Relevant Period, is

currently, and at all relevant times has been, a holder of Beyond Meat common stock.

       16.     Nominal Defendant Beyond Meat is incorporated in Delaware and its current

principal executive offices are located at 888 North Douglas Street, Suite 100, El Segundo,

California, 90245. The Company’s common stock trades on the NASDAQ under ticker symbol

“BYND.”

       17.     Defendant Ethan Brown (“Brown”) has served as the President and Chief Executive

Officer (“CEO”) of Beyond Meat since founding the Company in 2009. Defendant Brown is a

director of the Board. For the fiscal years of 2020, 2021, and 2022, Defendant Brown received

$5,333,325, $6,572,625, and $6,770,871 in total compensation, respectively.

       18.     Defendant Mark J. Nelson (“Nelson”) served as Chief Financial Officer (“CFO”),

Chief Operating Officer (“COO”), and Treasurer of Beyond Meat from December 2015 to May

2021. For the fiscal years of 2020 and 2021, Defendant Nelson received $2,871,897 and $239,350

in total compensation, respectively.

       19.     Defendant Phillip E. Hardin (“Hardin”) served as CFO of Beyond Meat from July

2021 to October 2022. For the fiscal years of 2021 and 2022, Defendant Hardin received

$4,840,623 and $3,587,734 in total compensation, respectively.




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       20.      Defendants Brown, Nelson, and Hardin, are collectively referred to herein as the

“Securities Action Defendants.”

       21.      Defendant Seth Goldman (“Goldman”) has served as a director of the Board since

February 2013. Defendant Goldman is Chair of the Board and a member of the Nominating and

Corporate Governance Committee. For the fiscal years of 2020, 2021, and 2022, Defendant

Goldman received $235,738, $154,900, and $135,907 in total compensation, respectively.

       22.      Defendant Sally Grimes (“Grimes”) has served as a director of the Board since May

2021. Defendant Grimes is Chair of the Nominating and Corporate Governance Committee and a

member of the Risk Committee. For the fiscal years of 2021 and 2022, Defendant Grimes received

$276,573 and $111,539 in total compensation, respectively.

       23.      Defendant Colleen Jay (“Jay”) has served as a director of the Board since May

2022. Defendant Grimes is Chair of the Risk Committee and a member of the Audit Committee.

For the fiscal year of 2022, Defendant Jay received $260,601 in total compensation, respectively.

       24.      Defendant Raymond J. Lane (“Lane”) has served as a director of the Board since

February 2015. Defendant Lane is a member of the Human Capital Management and

Compensation Committee. For the fiscal years of 2020, 2021, and 2022, Defendant Lane received

$191,939, $140,400, and $121,407 in total compensation, respectively.

       25.      Defendant Muktesh Pant (“Pant”) has served as a director of the Board since May

2021. Defendant Pant is Chair of the Human Capital Management and Compensation Committee

and a member of the Nominating and Corporate Governance Committee. For the fiscal years of

2021 and 2022, Defendant Pant received $282,837 and $121,407 in total compensation,

respectively.




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       26.     Defendant Ned D. Segal (“Segal”) has served as a director of the Board since

November 2018. Defendant Segal is a member of the Audit Committee. For the fiscal years of

2020, 2021, and 2022, Defendant Segal received $186,439, $134,900, and $115,907 in total

compensation, respectively.

       27.     Defendant Kathy N. Waller (“Waller”) has served as a director of the Board since

November 2018. Defendant Waller is Chair of the Audit Committee and a member of the Human

Capital Management and Compensation Committee. For the fiscal years of 2020, 2021, and 2022,

Defendant Waller received $199,439, $149,153, and $130,907 in total compensation, respectively.

       28.     Defendants Goldman, Grimes, Jay, Lane, Pant, Segal, and Waller, are collectively

referred to herein as the “Director Defendants.”

       29.     Related Party Non-Defendant C. James Koch (“Koch”) has served as a director of

the Board since May 2023. Koch is named solely for purposes of demand futility.

       30.     The Director Defendants, along with the Securities Action Defendants are referred

to herein collectively as the “Individual Defendants.”

       31.     Defendant Beyond Meat, along with the Individual Defendants, are referred to

herein collectively as the “Defendants.”

               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       32.     By reason of their positions as officers, directors, and/or fiduciaries of Beyond

Meat, and because of their ability to control the business and corporate affairs of Beyond Meat,

the Individual Defendants owed, and owe, the Company and its shareholders fiduciary obligations

of trust, loyalty, good faith, and due care, and were, and are, required to use their utmost ability to

control and manage Beyond Meat in a fair, just, honest, and equitable manner. The Individual

Defendants were, and are, required to act in furtherance of the best interests of Beyond Meat and




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its shareholders so as to benefit all shareholders equally and not in furtherance of their personal

interest or benefit.

        33.     Each director and officer of the Company owes to Beyond Meat and its

shareholders the fiduciary duty to exercise good faith and diligence in the administration of the

affairs of the Company and in the use and preservation of its property and assets, as well as the

highest obligations of fair dealing.

        34.     In addition, as officers and/or directors of a publicly held company, the Individual

Defendants had a duty to promptly disseminate accurate and truthful information with regard to

the Company’s financial and business prospects so that the market price of the Company’s stock

would be based on truthful and accurate information.

                        Duties of the Members of the Audit Committee

        35.     Pursuant to the Audit Committee Charter of Beyond Meat (amended as of

December 16, 2022),2 the purpose of the Audit Committee is to:

        …(A) assist the Board in overseeing (1) the integrity of the Company’s financial
        statements, (2) the Company’s compliance with legal and regulatory requirements,
        (3) the independent auditor’s qualifications and independence, and (4) the
        performance of the Company’s internal audit function and independent auditors;
        (B) provide such reports as may be required of an audit committee under the rules
        and regulations promulgated under the Securities Exchange Act of 1934, as
        amended (the “Exchange Act”); and (C) provide oversight with respect to ethical
        conduct and any related matters. The Committee is not responsible, however, for
        planning or conducting audits, or determining whether the Company’s financial
        statements are complete and accurate or in accordance with generally accepted
        accounting principles (“GAAP”).

        36.     The responsibilities of the Audit Committee include the following, among others:

        1.     Appoint and provide for the compensation of a “registered public
        accounting firm” (as that term is defined in Section 2(a) of the Sarbanes-Oxley Act
        of 2002) to serve as the Company’s independent auditor, oversee the work of the


2Available at https://investors.beyondmeat.com/static-files/48d288c3-b6c5-4a6f-b997

-dd6f9a07d6a0.


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   independent auditor (including resolution of any disagreements between
   management and the independent auditor regarding financial reporting), evaluate
   the performance of the independent auditor and, if so determined by the Committee,
   replace the independent auditor.

   2.     Review the plan for and the scope of the audit and related services at least
   annually.

   3.      Approve, in accordance with Sections 10A(h) and (i) of the Exchange Act,
   the Regulations and the Auditing Standards of the Public Accounting Oversight
   Board (the “PCAOB”), all professional services, to be provided to the Company by
   its independent auditor, provided that the Committee shall not approve any non-
   audit services proscribed by Section 10A(g) of the Exchange Act in the absence of
   an applicable exemption. The Committee may adopt policies and procedures for
   the approval of such services which may include delegation of authority to a
   designated member or members of the Committee to approve such services so long
   as any such approvals are disclosed to the full Committee at its next scheduled
   meeting.

   4.      At least annually, obtain and review a report by the independent auditor
   describing: the firm’s internal quality-control procedures; any material issues raised
   by the most recent internal quality-control review, or peer review, of the firm, or
   by any inquiry or investigation by governmental or professional authorities, within
   the preceding five years, respecting one or more independent audits carried out by
   the firm, and any steps taken to deal with any such issues; and (to assess the
   auditor’s independence) all relationships between the independent auditor and the
   Company. Ensure the receipt of, and evaluate the written disclosures and the letter
   that the independent auditor submits to the Committee regarding the auditor’s
   independence in accordance with applicable requirements of the PCAOB regarding
   the independent accountant’s communications with the audit committee concerning
   independence, discuss such reports with the auditor, oversee the independence of
   the independent auditor and, if so determined by the Committee in response to such
   reports, take appropriate action to address issues raised by such evaluation or
   recommend such action to the full Board.

   5.      Discuss with the independent auditor the matters required to be discussed
   by the auditing standards of the PCAOB.

   6.     Discuss with the independent auditor, management and internal audit staff
   or others responsible for the internal audit function the Company’s financial risk
   assessment and financial risk management guidelines, policies and processes.

   7.      On behalf of the Board, oversee the principal financial risk exposures facing
   the Company and the Company’s mitigation efforts in respect of such risks,
   including, but not limited to financial reporting risks and credit and liquidity risks.




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    8.      Review with management any significant changes to GAAP, SEC and other
    accounting policies or standards that will impact or could impact the financial
    reports under review.

    9.      Review significant changes to the Company’s accounting principles and
    practices proposed by the independent auditor or management.

    10.     Instruct the independent auditor to report to the Committee on all critical
    accounting policies of the Company, any significant adjustments, management
    judgment and accounting estimates, critical audit matters addressed during the
    audit, significant new accounting policies, all alternative treatments of financial
    information within GAAP that have been discussed with management,
    ramifications of the use of such alternative disclosures and treatments and the
    treatment preferred by the independent auditor, and other material written
    communication between the independent auditor and management, and discuss
    these matters with the independent auditor and management.

    11.      Meet with management, the independent auditor and internal audit staff or
    others responsible for the internal audit function to discuss the annual financial
    statements, including Management’s Discussion and Analysis of Financial
    Condition and Results of Operations contained therein, and the report of the
    independent auditor with respect to such annual financial statements and to discuss
    significant issues encountered in the course of the audit work, including:
    restrictions on the scope of activities; access to required information; the adequacy
    of internal controls, including any special steps adopted in light of any significant
    deficiencies or material weaknesses in the design or operation of internal control
    over financial reporting identified during the course of the annual audit, and the
    adequacy of disclosures about changes in internal control over financial reporting;
    the adequacy of the disclosure of off- balance sheet transactions, arrangements,
    obligations and relationships in reports filed with the Securities and Exchange
    Commission (the “SEC”); and the appropriateness of the presentation of any non-
    GAAP financial measures (as defined in the Regulations) included in any report
    filed with the SEC or in any public disclosure or release.

    12.     Recommend to the Board as to whether the Company’s audited financial
    statements should be included in the Company’s Annual Report on Form 10-K
    based on the Committee’s review and discussions (a) with management of the
    audited financial statements, (b) with the independent auditor of the matters
    required to be discussed by the PCAOB and the SEC and (c) with the independent
    auditor concerning the independent auditor’s independence.

    13.     Provide a report in the Company’s proxy statement in accordance with the
    rules and regulations of the SEC.




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    14.    Periodically receive reports from management regarding, and review and
    discuss the adequacy and effectiveness of, the Company’s disclosure controls and
    procedures.

    15.     Review and discuss with the independent auditor, management and internal
    audit staff or others responsible for the internal audit function their periodic reviews
    of the adequacy of the Company’s accounting and financial reporting processes and
    systems of internal control, including any significant deficiencies and material
    weaknesses in their design or operation.

    16.     Discuss any comments or recommendations of the independent auditors
    outlined in their annual management letter or internal control reports. If appropriate,
    approve a schedule for implementing any recommended changes and monitor
    compliance with the schedule.

    17.    Review, prior to public release, the substance and presentation of financial
    information (including any guidance) in the Company’s annual and quarterly
    earnings releases.

    18.     Oversee the activities of the internal audit function within the Company.
    Review and approve the annual internal audit plan, including the scope and
    procedures to be used for the year and any modifications to the plan during the year.
    Review significant issues and significant, unsatisfactory audit findings identified
    by the internal audit staff or others responsible for the internal audit function and
    management’s response and follow up to such issues. Establish and annually review
    and approve changes (if any) to the internal audit charter.

    19.     Discuss with management and the independent auditor the quarterly
    financial statements prior to the filing of the Form 10-Q, including Management’s
    Discussion and Analysis of Financial Condition and Results of Operations
    contained therein; provided that this responsibility may be delegated to the
    chairman of the Committee or a member of the Committee who is a financial expert.

    20.     Periodically conduct separate executive sessions with management, the
    independent auditor and internal audit staff or others responsible for the internal
    audit function to discuss matters that any of them or the Committee believes could
    significantly affect the financial statements and should be discussed privately; and
    review with the independent auditor any audit problems or difficulties and
    management’s response, including any restrictions on the scope of the independent
    auditor’s activities or access to requested information, or any significant
    disagreements with management.

    21.     Evaluate the qualifications, performance and independence of the lead audit
    partner and, if so determined by the Committee, recommend replacement or
    rotation of the lead audit partner.




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    22.    Conduct or authorize such inquiries into matters within the Committee’s
    scope of responsibility as the Committee deems appropriate.

    23.     Establish a procedure for receipt, retention and treatment of any complaints
    received by the Company about its accounting, internal accounting controls or
    auditing matters and for the confidential and anonymous submission by employees
    of concerns regarding questionable accounting or auditing matters.

    24.     Review and oversee procedures designed to identify “related party”
    transactions that are material to the Company’s consolidated financial statements
    or otherwise require disclosure under applicable laws and rules adopted by the SEC.
    The Committee shall have the authority to approve any such “related party”
    transactions.

    25.    Review and assess conflicts of interest under the Company’s code of
    business conduct and ethics.

    26.     Review and assess the Company’s policies on corporate communications,
    insider trading and anti-corruption.

    27.    Engage and terminate independent counsel and other advisers as the
    Committee determines necessary to carry out its responsibilities and approve the
    fees and service terms of such advisors.

    28.   Cause the officers of the Company to provide such funding as the
    Committee shall determine to be appropriate for payment of compensation to the
    Company’s independent auditor and any legal counsel or other advisers engaged
    by the Committee, and payment of ordinary administrative expenses of the
    Committee that are necessary or appropriate in carrying out its duties.

    29.   Set policies regarding the hiring by the Company of current or former
    employees of the Company’s independent auditors.

    30.     Review reports and recommendations from the Risk Committee on risk-
    related issues and, in conjunction with the Risk Committee, determine whether and
    how such risks or incidents should be disclosed in the Company’s periodic filings
    with the SEC.

    31.    Review cybersecurity risks and incidents and any other risks and incidents
    relevant to the Company’s computerized information system controls and security,
    and determine if any such risks and incidents should be disclosed in the Company’s
    periodic filings with the SEC.

    32.    Assist the Risk Committee and Chief Legal Officer in an annual review and
    assessment of the Company’s code of business conduct and ethics and recommend
    changes for approval by the Board, and assist the Risk Committee and Chief Legal



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        Officer in monitoring compliance with the Company’s code of business conduct
        and ethics.

        33.     Review with the full Board, any issues that arise with respect to the quality
        or integrity of the Company’s financial statements, the Company’s compliance with
        legal or regulatory requirements, the performance and independence of the
        Company’s independent auditor, and the performance and effectiveness of the
        internal audit function.

        34.    Perform such other activities and functions as are required by law, the
        Listing Rules or provisions in the Company’s charter documents, or as are
        otherwise necessary and advisable, in its or the Board’s discretion, to the efficient
        discharge of its duties hereunder.

                                          *      *       *

        Periodic Review

                The Committee will periodically, but no less frequently than annually,
        review its own composition and performance and report on its conclusions in this
        regard to the Board. In addition, the Committee will annually review this Charter
        and make recommendations to the Board with regard to appropriate changes to the
        Charter

                  Duties Pursuant to the Company’s Code of Conduct

        37.     The Individual Defendants, as officers and/or directors of Beyond Meat, were also

bound by the Company’s Code of Conduct (the “Code”) (adopted and approved on November 15,

2018)3 which, according to the Code, sets out basic principles to guide all directors, officers, and

employees of Beyond Meat, who are required to know and conduct themselves in accordance with

the Code, as well as applicable laws and regulations, and to avoid the appearance of improper

behavior.

        38.     Regarding basic general principles of conduct, the Code requires that:

        …all of its directors, executives, managers and other supervisory personnel to act
        with honesty and integrity, use due care and diligence in performing responsibilities
        to the Company, help foster a sense of commitment to this Code among its


3   Available      at    https://investors.beyondmeat.com/static-files/2279632c-1e77-4cbd-9f2b-
4bd937fe3bae.


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    employees and foster a culture of fairness, honesty and accountability within the
    Company. The Company also expects such personnel to ensure that the Company’s
    agents and contractors conform to the standards of this Code when working on the
    Company’s behalf.

    39.     Concerning compliance with laws and regulations, the Code states that:

    Directors and employees must always obey the law while performing their duties
    to the Company. The Company’s success depends upon each employee operating
    within legal guidelines and cooperating with authorities. It is essential that all
    employees know and understand the legal and regulatory requirements that apply
    to the Company’s business and to their specific area of responsibility. While an
    employee is not expected to have complete mastery of these laws, rules and
    regulations, employees are expected to be able to recognize situations that require
    consultation with others to determine the appropriate course of action. See Section
    19 (Compliance Standards and Procedures) for a description of whom to contact
    with questions about legal compliance.

    40.     Concerning insider trading, the Code states that:

    Every director and employee is prohibited from using “inside” or material
    nonpublic information about the Company, or about companies with which the
    Company does business, in connection with buying or selling the Company’s or
    such other companies’ securities, including “tipping” others who might make an
    investment decision on the basis of this information. It is illegal, and it is a violation
    of this Code, the Company’s Insider Trading Policy (the “Insider Trading Policy”)
    and other Company policies, to tip or to trade on inside information. Employees
    who have access to inside information are not permitted to use or share that inside
    information for stock trading purposes or for any other purpose except to conduct
    Company business.

    Employees must exercise the utmost care when in possession of material nonpublic
    information. The Insider Trading Policy provides guidance on the types of
    information that might be nonpublic and material for these purposes, and guidelines
    on when and how an employee may purchase or sell shares of Company stock or
    other Company securities.

    Please review the Insider Trading Policy for additional information.

    41.     Concerning conflicts of interests, the Code states that:

    Employees are expected to avoid actual or apparent conflicts of interest between
    their personal and professional relationships. For directors, this may include recusal
    from discussions of the Board when their participation could be perceived as
    creating such a conflict. A “conflict of interest” occurs when a personal interest




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    interferes in any way (or even appears or could reasonably be expected to interfere)
    with the interests of the Company as a whole.

    Sometimes conflicts of interest arise when an employee takes some action or has
    some outside interest, duty, responsibility or obligation that conflicts with an
    interest of the Company or the employee’s duty to the Company. A conflict of
    interest can arise when an employee takes actions or has interests that may make it
    difficult to perform the employee’s duties objectively and effectively. Conflicts of
    interest can also arise when an employee or relative of an employee (including a
    family member of an employee) receives improper personal benefits as a result of
    the employee’s position at the Company.

    In evaluating whether an actual or contemplated activity may involve a conflict of
    interest, employees should consider:

       •   whether the activity would appear improper to an outsider;

       •   whether the activity could interfere with an employee’s job performance or
           morale or that of another Company employee; whether the employee has
           access to confidential Company information or influence over significant
           Company resources or decisions;

       •   the potential impact of the activity on the Company’s business relationships,
           including relationships with business partners and service providers;

       •   the extent to which the activity could benefit the employee or the
           employee’s relatives, directly or indirectly;

       •   any overlap between the employee’s specific role at the Company; and

       •   whether the investment is in a publicly traded or non-publicly traded
           company.

    A few examples of activities that could involve conflicts of interests include:

       •   Aiding the Company’s competitors. This could take the form of service
           as a member of the board of directors of a competitor, passing confidential
           Company information to a competitor or accepting payments or other
           benefits from a competitor. If employees are concerned about whether an
           interaction with a competitor constitutes a conflict of interest they should
           consult with their supervisor and the Chief Legal Officer or, if there shall
           be no Chief Legal Officer, the Chief Financial Officer.

       •   Involvement with any business that does business with the Company or
           seeks to do business with the Company. Employment by or service on the
           board of directors of a business partner, supplier or service provider is


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            generally discouraged, and an employee (other than a director) must seek
            authorization from the Chief Legal Officer or, if there shall be no Chief
            Legal Officer, the Chief Financial Officer in advance if the employee plans
            to have such a relationship. A director must consult with the Audit Chair
            (or, in the case of the Audit Chair, the Chief Legal Officer or, if there shall
            be no Chief Legal Officer, the Chief Financial Officer) if the director plans
            to have such a relationship.

        •   Owning a significant financial interest in a competitor or a business
            that does business with the Company or seeks to do business with the
            Company. In evaluating such interests for conflicts, both direct and indirect
            interests that employees or their relatives may have should be considered,
            along with factors such as the following:

            o the size and nature of the interest; o the nature of the Company’s
              relationship with the other business;

            o whether an employee has access to confidential Company information;
              and

            o whether an employee has an ability to influence Company decisions that
              would affect the other entity.

    If a director has or wishes to acquire a significant financial interest in a competitor,
    or in a business partner, supplier or service provider with which the director has
    direct business dealings (or approval responsibilities), the director must consult
    with the Audit Chair (or, in the case of the Audit Chair, the Chief Legal Officer or,
    if there shall be no Chief Legal Officer, the Chief Financial Officer). If an employee
    has or wishes to acquire a significant financial interest in a competitor, or in a
    business partner, supplier or service provider with which the employee has direct
    business dealings (or approval responsibilities), the employee must consult with the
    Chief Legal Officer or, if there shall be no Chief Legal Officer, the Chief Financial
    Officer. Similarly, if an employee experiences a change of position or seniority that
    results in having direct business dealings with a business partner or service provider
    in which the employee already has a significant financial interest, the employee
    must consult with the Chief Legal Officer or, if there shall be no Chief Legal
    Officer, the Chief Financial Officer.

        •   Soliciting or accepting payments, gifts, loans, favors or preferential
            treatment from any person or entity that does or seeks to do business
            with the Company. See Section 10 (Gifts and Entertainment) for further
            discussion of the issues involved in this type of potential conflict.

        •   Taking personal advantage of corporate opportunities. See Section 7
            (Corporate Opportunities) for further discussion of the issues involved in
            this type of conflict.


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          •   Having authority on behalf of the Company over a co-worker who is
              also a family member, or transacting business on behalf of the
              Company with a family member. If employees may be involved in such
              situations, they should consult with their supervisors and the Chief Legal
              Officer or, if there shall be no Chief Legal Officer, the Chief Financial
              Officer to assess the situation and determine an appropriate resolution.

    Employees must avoid these situations (and others like them), and any other
    situations where their loyalty to the Company could be compromised. If an
    employee (other than a director) believes that the employee is or may become
    involved in a potential conflict of interest, the employee must discuss it with, and
    seek a determination and prior authorization or approval from, the Chief Legal
    Officer or, if there shall be no Chief Legal Officer, the Chief Financial Officer. If a
    director believes a situation may exist in which the director has a conflict of interest
    that would interfere with the ability to perform the director’s responsibilities as a
    director, the director must promptly notify the Audit Chair (or, in the case of the
    Audit Chair, the Chief Legal Officer or, if there shall be no Chief Legal Officer, the
    Chief Financial Officer). In such a scenario, the Audit Committee, acting where
    appropriate on the advice and guidance of counsel, will review all relevant facts
    and may (i) determine that the conduct or situation does not amount to a conflict of
    interest, (ii) provide guidance to avoid a conflict from developing (such as
    suggesting recusal from consideration and/or approval of specific matters that come
    before the Board) or (iii) declare that the director may not pursue a certain course
    of action, or must terminate the conflict. In addition, all relatedparty transactions,
    whether or not deemed to be a conflict of interest, must be approved in accordance
    with the Company’s Related-Party Transactions Policy.

    Special Note Regarding Employee Loans

    Loans to employees or their family members by the Company, or guarantees of
    their loan obligations, could constitute an improper personal benefit to the
    recipients of these loans or guarantees. Accordingly, Company loans and
    guarantees for executive officers and directors are expressly prohibited by law and
    Company policy. In addition, approval of the Human Capital Management and
    Compensation Committee of the Board is required for any Company loan to any
    other employee.

    42.       Concerning corporate opportunities, the Code states that:

    Employees may not compete with the Company or take personal advantage of
    business opportunities that the Company might want to pursue. Employees are
    prohibited from taking for themselves personally (or for the benefit of friends or
    family members) opportunities that are discovered through the use of Company
    property, information or position. Even opportunities that are acquired through




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        independent sources may be questionable if they are related to the Company’s
        existing or proposed lines of business.

        No employee may use Company property, information or position for personal
        gain. Employees owe a duty to the Company to advance the Company’s legitimate
        business interests when opportunities arise. Accordingly, participation by
        employees in outside business opportunities that are related to the Company’s
        existing or proposed lines of business is prohibited.

        Directors should consult with the Audit Chair (or, in the case of the Audit Chair,
        the Chief Legal Officer or, if there shall be no Chief Legal Officer, the Chief
        Financial Officer) and employees (other than directors) should consult with the
        Chief Legal Officer or, if there shall be no Chief Legal Officer, the Chief Financial
        Officer, in each case, to determine an appropriate course of action if interested in
        pursuing an opportunity that they discovered through their Company position or
        use of Company property or information.

        43.       Concerning public reporting of the Company’s financial records, the Code states

that:

        The Company strives to maintain integrity of the Company’s records and public
        disclosure. The Company’s corporate and business records, including all
        supporting entries to the Company’s books of account, must be completed honestly,
        accurately and understandably. The Company’s records are important to investors
        and creditors. They serve as a basis for managing the Company’s business and are
        important in meeting the Company’s obligations to business partners, suppliers,
        vendors, creditors, employees and others with whom the Company does business.
        The Company depends on the books, records and accounts accurately and fairly
        reflecting, in reasonable detail, the Company’s assets, liabilities, revenues, costs
        and expenses, as well as all transactions and changes in assets and liabilities.

        To help ensure the integrity of the Company’s records and public disclosure, the
        Company requires that:

              •   no entry be made in the Company’s books and records that is intentionally
                  false or misleading;

              •   transactions be supported by appropriate documentation;

              •   the terms of sales and other commercial transactions be reflected accurately
                  in the documentation for those transactions and all such documentation be
                  reflected accurately in the Company’s books and records;

              •   employees comply with the Company’s system of internal controls and be
                  held accountable for their entries;


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       •    any off-balance sheet arrangements of the Company are clearly and
            appropriately disclosed;

       •    employees work cooperatively with the Company’s independent auditors in
            their review of the Company’s financial statements and disclosure
            documents;

       •    no cash or other assets be maintained for any purpose in any unrecorded or
            “off-the-books” fund; and

       •    records be retained or destroyed according to the Company’s document
            retention policies or procedures then in effect.

    The Company’s disclosure controls and procedures are designed to help ensure that
    the Company’s reports and documents filed with or submitted to the U.S. Securities
    and Exchange Commission (the “SEC”) and other public disclosures are complete,
    fair, accurate, fairly present the Company’s financial condition and results of
    operations and are timely and understandable. Employees who collect, provide or
    analyze information for or otherwise contribute in any way in preparing or verifying
    these reports should be familiar with and adhere to all disclosure controls and
    procedures and generally assist the Company in producing financial disclosures that
    contain all of the information about the Company that is required by law and would
    be important to enable investors to understand the Company’s business and its
    attendant risks. These controls and procedures include, but are not limited to, the
    following:

        •   no employee may take or authorize any action that would cause the
            Company’s financial records or financial disclosure to fail to comply with
            generally accepted accounting principles, the rules and regulations of the
            SEC or other applicable laws, rules and regulations;

        •   all employees must cooperate fully with the Company’s finance
            department, as well as the Company’s independent auditors and legal
            counsel, respond to their questions with candor and provide them with
            complete and accurate information to help ensure that the Company’s
            books and records, as well as its reports filed with the SEC, are accurate
            and complete; and

        •   no employee should knowingly make (or cause or encourage any other
            person to make) any false or misleading statement in any of the Company’s
            reports filed with the SEC or knowingly omit (or cause or encourage any
            other person to omit) any information necessary to make the disclosure in
            any of such reports accurate in all material respects.




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       In connection with the preparation of the financial and other disclosures that the
       Company makes to the public, including by press release or filing a document with
       the SEC, directors must, in addition to complying with all applicable laws, rules
       and regulations, follow these guidelines:

             •   act honestly, ethically, and with integrity;

             •   comply with this Code;

             •   endeavor to ensure complete, fair, accurate, timely and understandable
                 disclosure in the Company’s filings with the SEC;

             •   raise questions and concerns regarding the Company’s public disclosures
                 when necessary and ensure that such questions and concerns are
                 appropriately addressed;

             •   act in good faith in accordance with the director’s business judgment,
                 without misrepresenting material facts or allowing independent judgment
                 to be subordinated by others; and

             •   comply with the Company’s disclosure controls and procedures and
                 internal controls over financial reporting.

       If an employee becomes aware that the Company’s public disclosures are not
       complete, fair and accurate, or if an employee becomes aware of a transaction or
       development that the employee believes may require disclosure, the employee
       should report the matter immediately.

       44.       Upon information and belief, the Company maintained versions of the Code during

the Relevant Period that imposed the same, or substantially and materially the same or similar,

duties on, among others, the Individual Defendants, as those set forth above.

                                  Control, Access, and Authority

       45.       The Individual Defendants, because of their positions of control and authority as

directors and/or officers of Beyond Meat, were able to, and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein, as well as the contents of the various public

statements issued by Beyond Meat.




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       46.     Because of their advisory, executive, managerial, and directorial positions with

Beyond Meat, each of the Individual Defendants had access to adverse, non-public information

about the financial condition, operations, and improper representations of Beyond Meat.

       47.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of Beyond Meat, and was at all times acting within

the course and scope of such agency.

                              Reasonable and Prudent Supervision

       48.     To discharge their duties, the officers and directors of Beyond Meat were required

to exercise reasonable and prudent supervision over the management, policies, practices, and

controls of the financial affairs of the Company. By virtue of such duties, the officers and directors

of Beyond Meat were required to, among other things:

               (a) ensure that the Company complied with its legal obligations and requirements,

including acting only within the scope of its legal authority and disseminating truthful and accurate

statements to the investing public;

               (b) conduct the affairs of the Company in an efficient, business-like manner so as

to make it possible to provide the highest quality performance of its business to avoid wasting the

Company’s assets, and to maximize the value of the Company’s stock;

               (c) properly and accurately guide shareholders and analysts as to the true financial

and business prospects of the Company at any given time, including making accurate statements

about the Company’s business and financial prospects and internal controls;

               (d) remain informed as to how Beyond Meat conducted its operations, and, upon

receipt of notice or information of imprudent or unsound conditions or practices, make reasonable




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inquiry in connection therewith, and take steps to correct such conditions or practices and make

such disclosures as necessary to comply with securities laws; and

               (e) ensure that Beyond Meat was operated in a diligent, honest, and prudent manner

in compliance with all applicable laws, rules, and regulations.

                                    BREACHES OF DUTIES

       49.     Each Individual Defendant, by virtue of their position as a director and/or officer,

owed to Beyond Meat and its shareholders the fiduciary duties of loyalty and good faith, and the

exercise of due care and diligence in the management and administration of the affairs of Beyond

Meat, as well as in the use and preservation of its property and assets. The conduct of the Individual

Defendants complained of herein involves a knowing and culpable violation of their obligations

as directors and officers of Beyond Meat, the absence of good faith on their part, and a reckless

disregard for their duties to Beyond Meat and its shareholders that the Individual Defendants were

aware or should have been aware posed a risk of serious injury to Beyond Meat.

       50.     The Individual Defendants each breached their duties of loyalty and good faith by

allowing the Individual Defendants to cause, or by themselves causing, the Company to make false

and/or misleading statements that misled shareholders into believing that disclosures related to the

Company’s financial and business prospects were truthful and accurate when made.

       51.     In addition, as a result of the Individual Defendants’ illegal actions and course of

conduct, the Company is now the subject of the Related Securities Action that alleges violations

of the federal securities laws. As a result, Beyond Meat has expended, and will continue to expend,

significant sums of money to rectify the Individual Defendants’ wrongdoing.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION




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       52.     In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with,

and conspired with, one another in furtherance of their wrongdoing. The Individual Defendants

further aided and abetted and/or assisted each other in breaching their respective duties.

       53.     During all times relevant hereto, the Individual Defendants collectively and

individually initiated a course of conduct that was designed to mislead shareholders into believing

that the Company’s business and financial prospects were better than they actually were. In

furtherance of this plan, conspiracy, and course of conduct, the Individual Defendants collectively

and individually took the actions set forth herein.

       54.     The purpose and effect of the Individual Defendants’ conspiracy, common

enterprise, and/or common course of conduct was, among other things, to: (a) disguise the

Individual Defendants’ violations of law, including breaches of fiduciary duties, unjust

enrichment, gross mismanagement, and abuse of control; and (b) disguise and misrepresent the

Company’s actual business and financial prospects.

       55.     The Individual Defendants accomplished their conspiracy, common enterprise,

and/or common course of conduct by causing the Company to purposefully, recklessly, or

negligently release improper statements. Because the actions described herein occurred under the

authority of the Board, each of the Individual Defendants was a direct, necessary, and substantial

participant in the conspiracy, common enterprise, and/or common course of conduct complained

of herein.

       56.     Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commissions of the wrongdoing complained of herein, each Individual Defendant acted with




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knowledge of the primary wrongdoing, substantially assisted the accomplishment of that

wrongdoing, and was aware of their overall contribution to and furtherance of the wrongdoing.

                               SUBSTANTIVE ALLEGATIONS

                                 Background of the Company

       57.     Beyond Meat is a global producer of plant-based meat substitutes such as Beyond

Burgers, Beyond Sausages, Beyond Meatballs, and Beyond Pepperoni, based in El Segundo,

California. Founded in 2009, Beyond Meat seeks to build “meat directly from plants” by faithfully

replicating the look, taste, and texture of animal meat using only vegan, non-genetically modified

ingredients.

       58.     Beyond Meat found success creating small, sample-sized prototypes of its product

offerings, and received immense support from venture funding and celebrity investors. The

Company went public in 2019 as the best-performing IPO in nearly two decades, with shares

surging more than 163% in the first day of trading.

       59.     On the heels of its IPO, Beyond Meat announced numerous high-profile

partnerships with foodservice providers, including Starbucks, McDonalds, KFC, Pizza Hut, and

Taco Bell. According to a Company spokesperson, during these pitches Beyond Meat would

“show foodservice customers prototypes to illustrate the art of the possible.” The Company also

assured investors that all new products are subject to Beyond Meat’s “extensive” testing programs,

in order to ensure not only the quality and fidelity of its products, but also that products are

“qualified through trials to ensure manufacturability.”

                  Defendant’s Materially False and Misleading Statements

       60.     The Relevant Period begins on May 5, 2020, when Beyond Meat participated in its

first quarter 2020 earnings conference call with analysts and investors. During that call, Beyond




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Meat presented several new and expanded partnerships, including a limited test with McDonald’s

Canada that ran from January to April 2020.

       61.     On that same conference call, in response to a question of why the test ended in

April without a widespread product launch, Defendant Brown stated, “for no negative reason at

all. . . . [W]e feel very good about our relationship with McDonald’s and what’s going to be

happening both there and potentially elsewhere.” When pushed further to explain why the test

ended instead of expanding, Defendant Brown responded, “I can assure you there’s no issue with

McDonald’s” and “there’s been no change in information since we began this test and got good

results in the beginning and got good results at the end.”

       62.     On June 10, 2020, Defendant Brown represented Beyond Meat at the William Blair

Growth Stock Conference. At the conference, Defendant Brown was asked for an update on the

McDonald’s test and potential launch. In response, Defendant Brown reiterated that “we had a

very positive test with them. . . . I remain very optimistic about our business in foodservice.” In

addition, Defendant Brown touted recent tests with Pizza Hut, Taco Bell, and KFC, claiming “it

was a terrific launch” and “the tests are going well, went well.” Defendant Brown also stated, “our

goal is to . . . provide the benefits from a nutritional perspective of meat to the consumer. So you

get taste right, you get nutrition right, so you’re providing superior nutritional value proposition,

and then you drop price below animal protein.”

       63.     On November 9, 2020, Beyond Meat held its third quarter 2020 earnings

conference call with analysts and investors. On that call, analysts asked Defendant Brown for an

update on Beyond Meat’s foodservice segments. Again, Defendant Brown claimed that testing

remained ongoing at foodservice providers, including Pizza Hut and Taco Bell. Further,

Defendants Brown and Nelson each blamed Covid-19 for any delay in full-scale product launches,




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with Brown claiming “there’s [] testing going on, but I think folks are waiting for resumption of

full economic activity before they start to really add things into their menu.”

          64.   On March 1, 2021, Beyond Meat filed its annual report with the SEC on Form 10-

K for the fiscal year ended December 31, 2020. The Form 10-K stated that “ingredients in our

flavors are qualified through trials to ensure manufacturability” and that “[f]lavors are extensively

tested prior to introduction to ensure finished product attributes such as taste, texture, aroma and

appearance are not negatively impacted.”

          65.   The statements above were materially false and misleading. In truth, Beyond Meat

was unable to manufacture its meat substitutes at scale to the specifications of its partners. Further,

Beyond Meat suffered from widespread scaling issues, particularly misalignment and delayed

decision-making, which led to corresponding production delays. Such issues were exacerbated by

Beyond Meat’s disjointed production lines. These problems led some partners to balk at the high

price of Beyond Meat’s products and express doubts about the Company’s ability to produce them

at commercial scale.

          66.   On April 9, 2021, the Company filed its Proxy Statement for 2021 (the “2021

Proxy”), which was solicited by Defendants Brown, Goldman, Grimes, Lane, Pant, Segal, and

Waller.

          67.   The 2021 Proxy solicited shareholder votes to approve: (i) the election of three

Class II directors; (ii) ratification of Deloitte & Touche LLP as the Company’s independent

registered public accounting firm; and (iii) an advisory vote on the frequency of future stockholder

advisory votes to approve the compensation paid to Beyond Meat’s executives.

          68.   However, the 2021 Proxy failed to disclose to investors that Beyond Meat was

unable to manufacture its meat substitutes at scale to the specifications of its partners. Further,




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Beyond Meat suffered from widespread scaling issues, particularly misalignment and delayed

decision-making, which led to corresponding production delays. Such issues were exacerbated by

Beyond Meat’s disjointed production lines. These problems led some partners to balk at the high

price of Beyond Meat’s products and express doubts about the Company’s ability to produce them

at commercial scale. The 2021 Proxy further failed to disclose that the Company’s Code of

Conduct was not followed, despite assertions to the contrary.

       Disclosure of the Company’s Misconduct Caused Significant Investor Losses

       69.     On October 22, 2021, Beyond Meat announced that it was reducing its third quarter

net revenues outlook from between $120 million and $140 million to just $106 million, a decline

of 12% to 25%. As part of the announcement, Beyond Meat also revealed that the Company’s

expenses were continuing to rise.

       70.     As a result of this disclosure, the price of Beyond Meat stock declined by $12.82

per share, or nearly 12%, from a closing price of $108.62 per share on October 21, 2021, to a

closing price of $95.80 per share on October 22, 2021.

       71.     Then, on November 10, 2021, after the markets closed, Beyond Meat announced a

$1.8 million inventory write-off, blaming Covid-19 and product repackaging costs.

       72.     As a result of this disclosure, the price of Beyond Meat stock declined by $12.55

per share, or nearly 13%, from a closing price of $94.48 per share on November 10, 2021, to a

closing price of $81.93 per share on November 11, 2021.

       73.     However, Defendants continued to assure investors of the Company’s

manufacturing capabilities and the strength of its partnerships. For example, on the November 10,

2021 earnings conference call with analysts and investors, Defendant Brown continued to attribute

Beyond Meat’s poor financial results and expiring inventory to the Covid-19 pandemic, stating




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“there’s just unusual consumer behavior . . . whether it’s people because of the Delta variant

spending less time in the retail markets, being less open to trial in the absence of sampling

programs.” Defendant Brown also claimed that the Company “overcame numerous technical

challenges” in its partnership with Pizza Hut to provide Beyond Pepperoni.

       74.     The statements above were materially false and misleading. In truth, Beyond Meat

was unable to manufacture its meat substitutes at scale to the specifications of its partners. As a

result, Beyond Meat was unable to sell its product and, therefore, amassed unsalable inventory.

       75.     One week later, on November 17, 2021, Bloomberg published an article

highlighting the delays in product roll out and execution challenges Beyond Meat was facing. That

article, citing five former Beyond Meat employees, laid bare the Company’s ongoing scaling

problems and how those problems were tarnishing the Company’s relationships with potential

partners.

       76.     As a result of this disclosure, the price of Beyond Meat stock declined by an

additional $3.01 per share, or over 3.5%, from a closing price of $83.48 per share on November

16, 2021, to a closing price of $80.97 per share on November 17, 2021.

       77.     Then, on December 9, 2021, after the market closed, multiple media sources

reported that Taco Bell had cancelled a planned test of Beyond Carne Asada due to ongoing quality

concerns. According to those reports, this cancellation was further evidence of ongoing problems

Beyond Meat faced in bringing its products to market at scale.

       78.     As a result of this disclosure, the price of Beyond Meat stock declined by $5.58 per

share, or nearly 8%, from a closing price of $70.09 per share on December 9, 2021, to a closing

price of $64.51 per share on December 10, 2021.




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          79.   Following these disclosures, Beyond Meat continued to assure investors that its

product testing was going well. For example, on February 24, 2022, Beyond Meat participated in

its fourth quarter 2021 earnings conference call with analysts and investors. On that call, Defendant

Brown stated, “with the resumption of our broader sampling program, this period of delay appears

to be coming to an end, and several products are in various stages of market entry or expansion.”

          80.   Then, on March 2, 2022, Beyond Meat filed its annual report with the SEC on Form

10-K for the fiscal year ended December 31, 2021. The Form 10-K again stated that “ingredients

in our flavors are qualified through trials to ensure manufacturability” and “[f]lavors are

extensively tested prior to introduction to ensure finished product attributes such as taste, texture,

aroma and appearance are not negatively impacted.”

          81.   The statements above were materially false and misleading. In truth, Beyond Meat

was unable to manufacture its meat substitutes at scale to the specifications of its partners. Further,

Beyond Meat suffered from widespread scaling issues, particularly misalignment and delayed

decision-making, which led to corresponding production delays. Such issues were exacerbated by

Beyond Meat’s disjointed production lines. These problems led some partners to balk at the high

price of Beyond Meat’s products and express doubts about the Company’s ability to produce them

at commercial scale.

          82.   On April 12, 2022, the Company filed its Proxy Statement for 2022 (the “2022

Proxy”), which was solicited by Defendants Brown, Goldman, Grimes, Lane, Pant, Segal, and

Waller.

          83.   The 2022 Proxy solicited shareholder votes to approve: (i) the election of three

Class III directors; (ii) ratification of Deloitte & Touche LLP as the Company’s independent




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registered public accounting firm; and (iii) an advisory vote on the frequency of future stockholder

advisory votes to approve the compensation paid to Beyond Meat’s executives.

       84.     However, the 2022 Proxy failed to disclose to investors that Beyond Meat was

unable to manufacture its meat substitutes at scale to the specifications of its partners. Further,

Beyond Meat suffered from widespread scaling issues, particularly misalignment and delayed

decision-making, which led to corresponding production delays. Such issues were exacerbated by

Beyond Meat’s disjointed production lines. These problems led some partners to balk at the high

price of Beyond Meat’s products and express doubts about the Company’s ability to produce them

at commercial scale. The 2022 Proxy further failed to disclose that the Company’s Code of

Conduct was not followed, despite assertions to the contrary.

                                    The Truth Fully Emerges

       85.     On October 14, 2022, before the market opened, Beyond Meat announced the

departure of several of its top executives, including the Chief Operating Officer (Doug Ramsey),

Chief Growth Officer (Deanna Jurgens), and Chief Financial Officer (Defendant Hardin).

       86.     As a result of this disclosure, the price of Beyond Meat stock declined by $1.43 per

share, or over 9.6%, from a closing price of $14.78 per share on October 13, 2022, to a closing

price of $13.35 per share on October 14, 2022.

                            DEFENDANTS’ INSIDER TRADING

       87.     Certain of the Individual Defendants capitalized on the artificially inflated stock

price by selling significant portions of their holdings of Company common stock. While in

possession of material, adverse, non-public information, Defendants Goldman, Lane, and Nelson

(the “Insider Selling Defendants”) collectively sold hundreds of thousands of shares of Beyond

Meat stock for proceeds of over $92.78 million. These sales made by the Insider Selling




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Defendants during the Relevant Period were suspiciously large in quantity and timing and were

inconsistent with their pre- and post-Relevant Period trading practices.

       88.     Defendant Goldman sold 170,000 shares of his personally held Beyond Meat stock

for proceeds of $24,021,230 between August and September 2020.

       89.     Defendant Lane sold 78,552 shares of his personally held Beyond Meat stock for

proceeds of $10,384,469 in May 2020.

       90.     Defendant Nelson sold 690,804 shares of his personally held Beyond Meat stock

for proceeds of $58,373,743 in May 2020.

                           DAMAGES TO THE COMPANY

       91.     Beyond Meat has been, and will continue to be, severely damaged and injured by

the Defendants’ misconduct. As a direct and proximate result of the Defendants’ conduct, Beyond

Meat has been seriously harmed and will continue to be. Such harm includes, but is not limited

to:

               a. costs incurred in compensation and benefits paid to Defendants that violated

                   federal securities laws;

               b. substantial loss of market capital;

               c. costs already incurred and to be incurred defending the Related Securities

                   Action; and

               d. any fines or other liability resulting from the Company’s violations of federal

                   law.

       92.     In addition, Beyond Meat’s business, goodwill, and reputation with its business

partners, regulators and shareholders have been gravely impaired. The credibility and motives of

management are now in serious doubt.




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       93.     The wrongdoing complained of herein has irreparably damaged Beyond Meat’s

corporate image and goodwill. For at least the foreseeable future, Beyond Meat will suffer from

what is known as the “liar’s discount,” a term applied to the stocks of companies who have been

implicated in illegal behavior and have misled the investing public, such that Beyond Meat’s

ability to raise equity capital or debt on favorable terms in the future is now impaired.



                    DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       94.     Plaintiff brings this action derivatively in the right and for the benefit of Beyond

Meat to redress injuries suffered, and to be suffered, by Beyond Meat as a direct result of violations

of federal securities laws by the Defendants. Beyond Meat is named as a Nominal Defendant

solely in a derivative capacity. This is not a collusive action to confer jurisdiction on this Court

that it would not otherwise have.

       95.     The Board of Beyond Meat, at the time this action was commenced, consisted of

Defendants Brown, Goldman, Grimes, Jay, Lane, Pant, Segal, Waller, and Related Party Non-

Defendant Koch, a total of nine (9) individuals.

       96.     Plaintiff has not made any demand on the Board to institute this action because a

pre-suit demand on the Beyond Meat Board would be futile, and therefore, excused. This is

because a majority of the Board faces a substantial likelihood of liability as a result of their scheme

and false and misleading statements and/or omissions of material adverse facts which render them

unable to impartially consider a demand to pursue the wrongdoing alleged herein.

       97.     Each of the Director Defendants were responsible for reviewing and approving the

Company’s public statements made in press releases and financial filings with the SEC throughout

the Relevant Period. By authorizing the false and misleading statements and material omissions




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and described above during the Relevant Period concerning the Company’s business and

prospects, each of the Director Defendants knowingly faces a substantial likelihood of liability for

their participation in the illicit acts alleged herein.

        98.     Upon information and belief, in their capacity as members of the Company’s Board,

the Director Defendants were privy to specific information related to the Company’s business and

financial prospects, which would reasonably put them on notice that the statements they were

making were in fact false and misleading.

                         Demand is Futile as to Defendant Brown Because His
               Principal Professional Occupation as the Company’s President and CEO

        99.     Defendant Brown has served as the President and CEO of Beyond Meat since

founding the Company in 2009. Defendant Brown is a director of the Board. For the fiscal years

of 2020, 2021, and 2022, Defendant Brown received $5,333,325, $6,572,625, and $6,770,871 in

total compensation, respectively. The Company does not claim that Defendant Brown is an

independent director, and because his primary source of income and primary employment is his

employment as President and CEO of Beyond Meat and his professional reputation is inextricably

bound to his role at Beyond Meat, Defendant Brown is incapable of acting independently and

demand is futile upon him.

                               Demand is Futile as to Defendants
                      Jay, Segal, and Waller as Audit Committee Members

        100.    Demand is futile as to Defendants Jay, Segal, and Waller (the “Audit Committee

Defendants”) as members of the Audit Committee for their knowing failure to fulfill their

responsibilities.




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       101.       The Board of Directors adopted an Audit Committee Charter, setting forth the

responsibilities of the Audit Committee. The Audit Committee Charter notes that the purpose of

the Audit Committee shall be to:

       …(A) assist the Board in overseeing (1) the integrity of the Company’s financial
       statements, (2) the Company’s compliance with legal and regulatory requirements,
       (3) the independent auditor’s qualifications and independence, and (4) the
       performance of the Company’s internal audit function and independent auditors;
       (B) provide such reports as may be required of an audit committee under the rules
       and regulations promulgated under the Securities Exchange Act of 1934, as
       amended (the “Exchange Act”); and (C) provide oversight with respect to ethical
       conduct and any related matters. The Committee is not responsible, however, for
       planning or conducting audits, or determining whether the Company’s financial
       statements are complete and accurate or in accordance with generally accepted
       accounting principles (“GAAP”).

       102.       Specifically, the Audit Committee Charter notes that the Audit Committee is

responsible to:

       Review and discuss with the independent auditor, management and internal audit
       staff or others responsible for the internal audit function their periodic reviews of
       the adequacy of the Company’s accounting and financial reporting processes and
       systems of internal control, including any significant deficiencies and material
       weaknesses in their design or operation.

       103.       Upon information and belief, in their capacity as members of the Audit Committee,

the Audit Committee Defendants were privy to specific information related to the Company’s

business, operations, and prospects, which would reasonably put them on notice that the statements

set forth above in the Company’s public filings were materially false and misleading when made.

       104.       The Company’s public filings concerning the Company’s business and prospects

during the Relevant Period contained materially misleading information and/or omitted material

information. In their capacity as members of the Audit Committee, the Audit Committee

Defendants were charged with ensuring that these reports did not contain such materially

misleading information. By allowing documents to be filled with misleading information, the




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Audit Committee Defendants face a sufficiently significant likelihood of liability so as to render

them interested. Accordingly, the Audit Committee Defendants cannot adequately independently

consider a demand.

                      Demand is Futile as to Defendants Goldman, Lane, and Nelson

          105.    Demand is excused as to the Insider Selling Defendants because they directly

benefited from the wrongs and acts complained of herein and face a sufficiently substantial

likelihood of liability in connection with their illicit insider stock sales detailed above, which were

suspicious in timing and amount, and therefore cannot possibly consider a demand to sue

themselves based on those transactions in which they reaped significant benefits.

          106.    As a result of their access to and review of internal corporate documents;

conversations and connections with other corporate officers, employees and directors; and

attendance at management and Board meetings during the Relevant Period, each of the Insider

Selling Defendants knew the false and misleading statements made through press releases and in

the Company’s financial statements during the Relevant Period had caused the Company’s stock

price to become artificially inflated. While in possession of this material adverse non-public

information regarding the Company, the Insider Selling Defendants participated in the illegal

insider selling set forth herein and thereby received personal financial benefits from the challenged

insider trading transactions.

          107.    The Company has adopted a policy concerning insider trading in the Code, which

states:

          Every director and employee is prohibited from using “inside” or material
          nonpublic information about the Company, or about companies with which the
          Company does business, in connection with buying or selling the Company’s or
          such other companies’ securities, including “tipping” others who might make an
          investment decision on the basis of this information. It is illegal, and it is a violation
          of this Code, the Company’s Insider Trading Policy (the “Insider Trading Policy”)



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        and other Company policies, to tip or to trade on inside information. Employees
        who have access to inside information are not permitted to use or share that inside
        information for stock trading purposes or for any other purpose except to conduct
        Company business.

        Employees must exercise the utmost care when in possession of material nonpublic
        information. The Insider Trading Policy provides guidance on the types of
        information that might be nonpublic and material for these purposes, and guidelines
        on when and how an employee may purchase or sell shares of Company stock or
        other Company securities.

        108.    Accordingly, the Insider Selling Defendants have violated the Company’s insider

trading policies and face a sufficiently substantial likelihood of liability due to their illicit trades,

rendering them incapable of considering a demand.

                             Demand is Futile as to the Director Defendants

        109.    Plaintiff has not made any demand on the Board to institute this action because a

pre-suit demand on the Company’s Board would be futile, and therefore, excused. This is because

a majority of the Board faces a substantial likelihood of liability as a result of their knowing

toleration of the above described false and misleading statements and omissions of material

adverse facts, which render them unable to impartially consider a demand to pursue the

wrongdoing alleged herein.

        110.    Upon information and belief, in their capacity as members of the Company’s Board,

the Director Defendants were privy to specific information related to the Company’s business and

financial prospects, which would reasonably put them on notice that the statements they were

making were in fact false and misleading.

        111.    Each of the Director Defendants were responsible for reviewing and approving the

Company’s public statements made in press releases and financial filings with the SEC throughout

the Relevant Period. By authorizing the false and misleading statements and material omissions

and described above during the Relevant Period concerning the Company’s business and



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prospects, each of the Director Defendants knowingly faces a substantial likelihood of liability for

their participation in the illicit acts alleged herein.

        112.    Accordingly, the Director Defendants face a sufficiently substantial likelihood of

liability such as to create a reasonable doubt as to their impartiality to consider a demand to sue

themselves in the present action.

                                                COUNT I

   Against the Individual Defendants for Violations of Section 14(a) of the Exchange Act

        113.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

        114.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

        115.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. § 240.14a-9.

        116.    Under the direction and watch of the Individual Defendants, the 2021 and 2022

Proxy Statements (the “Proxy Statements”) failed to disclose to investors that Beyond Meat was




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unable to manufacture its meat substitutes at scale to the specifications of its partners. Further,

Beyond Meat suffered from widespread scaling issues, particularly misalignment and delayed

decision-making, which led to corresponding production delays. Such issues were exacerbated by

Beyond Meat’s disjointed production lines. These problems led some partners to balk at the high

price of Beyond Meat’s products and express doubts about the Company’s ability to produce them

at commercial scale. The Proxy Statements further failed to disclose that the Company’s Code of

Conduct was not followed, despite assertions to the contrary.

       117.       The Proxy Statements were also materially misleading because the facts show that

the Board and its committees utterly failed to implement controls to effectively oversee conduct

risk relating to the Company’s core business, operations and prospects in relation to the conduct

alleged herein.

       118.       The Individual Defendants knew or recklessly disregarded that by misrepresenting

or failing to disclose the foregoing material facts, the statements contained in the Proxy Statements

were materially false and misleading. The misrepresentations and omissions were material to

shareholders in voting on the matters set forth for shareholder determination in the Proxy

Statements, including but not limited to, the re-election of the Company’s directors.

       119.       The Company was damaged as a result of the Individual Defendants material

misrepresentations and omissions in the Proxy Statements.

       120.       Plaintiff on behalf of Beyond Meat has no adequate remedy at law.

                                             COUNT II

                     Against the Securities Action Defendants for
                 Contribution Under Section 10(b) of the Exchange Act,
      Rule 10b-5 Promulgated Thereunder, and/or Section 20(a) of the Exchange Act




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       121.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       122.    As a result of the conduct and events alleged above, Beyond Meat has been named

as a defendant in the Related Securities Action brought on behalf of Beyond Meat shareholders in

which it is a joint tortfeasor in claims brought under Section 10(b) of the Securities and Exchange

Act and Rule 10(b)-5 promulgated thereunder.

       123.    Federal law provides Beyond Meat with a cause of action against other alleged joint

tortfeasors under Rule 10b-5. In particular, under the Supreme Court’s decision in Musick, Peeler

& Garrett v. Employers Insurance of Wausau, 508 U. S. 286, Beyond Meat has a federal law right

of contribution against joint tortfeasors under Rule 10b-5. Section 21D(f) of the Securities and

Exchange Act further sets forth specific provisions entitling Beyond Meat to contribution against

all joint tortfeasors under Rule 10b-5, regardless of whether they have been named as defendants

in the currently pending Related Securities Action, and sets forth specific rules regarding the

determination of claims for such contribution.

       124.    Accordingly, Plaintiff, on behalf of Beyond Meat, hereby claims contribution

against the Securities Action Defendants, each of whom has been named in the currently pending

Related Securities Action as a joint tortfeasor with Beyond Meat under Rule 10b-5, or if joined in

such actions, would be liable for the same damages as Beyond Meat.

       125.    Beyond Meat claims no right to indemnification under the federal securities laws

from them in this count, but rather only claims contribution.

                   Allegations Regarding the Securities Action Defendants

       126.    Throughout the Relevant Period, the Securities Action Defendants caused the

Company to issue false and misleading statements and/or omit material information in public




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statements and/or Company filings concerning the Company’s business and financial prospects.

These statements were materially misleading to persons who purchased Beyond Meat securities

during the Relevant Period.

       127.    The plaintiffs in the Related Securities Action allege that they relied, directly or

indirectly, upon these false statements and misleadingly omissive disclosures in purchasing

Beyond Meat securities, and, as a result, suffered damages because value of their investments was

distorted by the false and materially omissive statements, and they purchased such securities at

such distorted prices.

       128.    The damages suffered by said investors were caused by reason of the fact that (i)

they were induced to purchase said securities by the false and misleading statements alleged herein,

and (ii) the reveal of the true nature of the Company’s business and prospects resulted in the

decrease in price of its securities, causing the value of shareholders investments to drop.

       129.    The plaintiffs in the Related Securities Action were unaware of the false and

misleading nature of said statements and omissive disclosures.

       130.    When the Securities Action Defendants signed off on or made the false statements

and omissive disclosures detailed herein, they had actual knowledge that they were false and

misleading. As alleged in detail herein, due to their positions as employees and/or directors of

Beyond Meat, the Securities Action Defendants were privy to information regarding the

Company’s business and financial prospects and would have been aware that the statements made

were in fact false and misleading when made.

       131.    Accordingly, the Securities Action Defendants are liable for damages under Section

10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder, and, if Beyond Meat were to

be held liable in the Related Securities Action, the Securities Action Defendants would be liable




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to it for contribution. Plaintiffs hereby derivatively claim such right of contribution on behalf of

Beyond Meat.

         Allegations Regarding the Securities Action Defendants as Control Persons

        132.    In acting as alleged above, the Securities Action Defendants were acting as

authorized agents of Beyond Meat in their roles as directors and/or employees. Because of their

positions of control and authority as senior officers and/or directors, the Securities Action

Defendants were able to, and did, control the contents of the various reports, press releases and

public filings disseminated by the Company throughout the Relevant Period, as alleged herein.

        133.    The Securities Action Defendants were “controlling persons” of Beyond Meat

within the meaning of Section 20(a) of the Exchange Act, and, accordingly, the Securities Action

Defendants could be held liable to the plaintiffs in the Related Securities Action. Were the

Company to be held liable in said Related Securities Action, the Securities Action Defendants

would be liable to it for contribution.

        134.    Plaintiff hereby derivatively claims such right of contribution on behalf of Beyond

Meat.

                                           COUNT III

               Against the Individual Defendants for Breaches of Fiduciary Duty

        135.    The Individual Defendants owed and owe Beyond Meat fiduciary obligations. By

reason of their fiduciary relationships, the Individual Defendants owed and owe Beyond Meat the

highest obligation of good faith, loyalty, and due care.

        136.    The Individual Defendants have violated and breached their fiduciary duties of

good faith, loyalty, and due care by causing or allowing the Company to disseminate to Beyond

Meat shareholders materially misleading and inaccurate information through the Company’s SEC




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filings throughout the Relevant Period. These actions could not have been a good faith exercise

of prudent business judgment.

       137.    During the course of the discharge of their duties, the Individual Defendants knew

or recklessly disregarded the unreasonable risks and losses associated with their misconduct, yet

the Individual Defendants caused Beyond Meat to engage in the conduct complained of herein

which they knew had an unreasonable risk of damage to the Company, thus breaching their duties

owed to Beyond Meat and its shareholders. As a result, the Individual Defendants grossly

mismanaged the Company.

       138.    As a direct and proximate result of the Individual Defendants’ failure to perform

their fiduciary obligations, the Company has sustained significant damages. As a result of the

misconduct alleged herein, the Individual Defendants are liable to the Company.

       139.    Plaintiff, on behalf of Beyond Meat, has no adequate remedy at law.

                                           COUNT IV

                     Against the Insider Selling Defendants for Breach
       of Fiduciary Duties for Insider Trading and Misappropriation of Information

       140.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       141.    The Insider Selling Defendants, throughout the Relevant Period, engaged in the sale

of Company stock at artificially inflated prices while in possession of material information that

had yet to be released to the investing public. These Defendants participated in the scheme to keep

the public unaware of the adverse information affecting the Company’s stock price and benefited

to the detriment of the investing public and the Company itself.

       142.    This proprietary, non-public information concerning the Company’s business and

prospects was known by Defendants who sold large quantities of their shares throughout the



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Relevant Period and was done for their own self-interests, at the expense of Beyond Meat and the

investing public.

       143.    By selling the Company’s common stock while in possession of this information

and failing to fully inform the investing public, the Insider Selling Defendants breached their

fiduciary duties of good faith and loyalty to the Company.

       144.    As such, the Insider Selling Defendants are legally responsible to the Company for

the significant profits they received from the sales of their stock in Beyond Meat.

                                            COUNT V

              Against the Securities Action Defendants for Unjust Enrichment

       145.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

       146.    By his wrongful acts and omissions, the Securities Action Defendants were unjustly

enriched at the expense of and to the detriment of Beyond Meat.

       147.    The Securities Action Defendants were unjustly enriched as a result of the

compensation they received while breaching their fiduciary duties owed to Beyond Meat.

       148.    Plaintiff, as a shareholder and representative of Beyond Meat, seeks restitution from

the Securities Action Defendants and seeks an order from this Court disgorging all profits, benefits,

and other compensation obtained by the Securities Action Defendants from their wrongful conduct

and breaches of fiduciary duty.

       149.    Plaintiff, on behalf of Beyond Meat, has no adequate remedy at law.

                                            COUNT VI

              Against the Individual Defendants for Waste of Corporate Assets




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        150.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

        151.    The wrongful conduct alleged regarding the issuance of false and misleading

statements was continuous, connected, and on-going throughout the time period in issue. It resulted

in continuous, connected, and ongoing harm to the Company.

        152.    As a result of the misconduct described above, the Individual Defendants wasted

corporate assets by, among other things: (a) paying excessive compensation and bonuses to certain

executive officers; (b) awarding self-interested stock options to certain officers and directors; and

(c) incurring potentially millions of dollars of legal liability and/or legal costs, including defending

the Company and its officers against the Related Securities Action.

        153.    As a result of the waste of corporate assets, the Individual Defendants are liable to

the Company.

        154.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment in the Company’s favor against all Defendants as

follows:

                A.      Declaring that Plaintiff may maintain this action on behalf of Beyond Meat

        and that Plaintiff is an adequate representative of the Company;

                B.      Determining and awarding to Beyond Meat the damages sustained by it as

        a result of the violations set forth above from each of the Defendants, jointly and severally,

        together with interest thereon;

                C.      Directing Beyond Meat and the Individual Defendants to take all necessary

        actions to reform and improve its corporate governance and internal procedures to comply


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       with applicable laws and to protect Beyond Meat and its shareholders from a repeat of the

       damaging events described herein, including, but not limited to, putting forward for

       shareholder vote the following resolutions for amendments to the Company’s By-Laws or

       Articles of Incorporation; and the following actions as may be necessary to ensure proper

       Corporate Governance Policies:

               (1) a proposal to strengthen the Board’s supervision of operations and develop and

                    implement procedures for greater shareholder input into the policies and

                    guidelines of the Board; and

               (2) a proposal to ensure the establishment of effective oversight of compliance with

                    applicable laws, rules, and regulations.

               D.      Determining and awarding to Beyond Meat exemplary damages in an

       amount necessary to punish Defendants and to make an example of Defendants to the

       community according to proof at trial;

               E.      Awarding Beyond Meat restitution from Defendants, and each of them;

               F.      Awarding Beyond Meat Contribution from the Securities Action

       Defendants, and each of them;

               G.      Awarding Plaintiff the costs and disbursements of this action, including

       reasonable attorneys’ and experts’ fees, costs, and expenses; and

               H.      Granting such other and further equitable relief as this Court may deem just

       and proper.

                               DEMAND FOR TRIAL BY JURY


Plaintiff hereby demands a trial by jury.




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Dated: December 8, 2023                   Respectfully submitted,
                                          BIELLI & KLAUDER, LLC

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